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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Anthony Eric Emerson,                            NO. CV-16-00229-TUC-DCB
10                 Plaintiff,                         **AMENDED**
11   v.                                              JUDGMENT OF DISMISSAL IN A
12   Corizon Incorporated, et al.,                   CIVIL CASE
13                 Defendants.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that pursuant to the Court’s order filed
18   June 17, 2019, this case is dismissed without prejudice and case is closed.
19                                             Brian D. Karth
                                               District Court Executive/Clerk of Court
20
21   June 18, 2019
                                               s/ BRuiz
22                                        By   Deputy Clerk
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